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EXHIBIT A

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STATE OF WYOMING * SECRETARY OF STATE

BUSINESS DIVISION
Herschler Bldg East, Ste.100 & 101, Cheyenne, WY 82002-0020

Phone: 307-777-7311 - Website: https://sos.wyo.gov - Email: business@wyo.gov

Filing Information

A Please note that this form CANNOT be submitted in place of your Annual Report.

Name Four (4) Square Biz LLC

Filing ID 2018-000813944

Type Limited Liability Company Status Inactive -
Administratively
Dissolved (Tax)

General Information

Old Name Sub Status Current

Fictitious Name Standing - Tax Delinquent

Standing - RA Good
Sub Type Standing - Other Good
Formed in Wyoming Filing Date 07/29/2018 10:07 PM

Term of Duration Perpetual

Principal Address

Delayed Effective Date
Inactive Date

Mailing Address

09/08/2021

2100 Ellison Lakes Dr. NW, Unit 116
Kennesaw, GA 30152

Registered Agent Address

Registered Agents Inc
30 N Gould St Ste R
Sheridan, WY 82801

1799 Lead Mine Valley Rd SW,
Cleveland, TN 37311

Parties

Type Name / Organization / Address

Organizer Keith Oneil Crews 2100 Ellison Lakes Dr. NW, Unit 116 GA 30152
Notes

Date Recorded By

Page 1 of 3
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Filing Information

A Please note that this form CANNOT be submitted in place of your Annual Report.

Name Four (4) Square Biz LLC
Filing ID 2018-000813944
Type Limited Liability Company Status Inactive -

Administratively
Dissolved (Tax)

Most Recent Annual Report Information

Type Original AR Year 2020
License Tax $50.00 AR Exempt N AR ID 05914875
AR Date 9/11/2020 3:39 PM

Web Filed Y

Officers / Directors

Type Name / Organization / Address

Principal Address Mailing Address

2100 Ellison Lakes Dr. NW, Unit 116 1799 Lead Mine Valley Rd SW,
Kennesaw, GA 30152 Cleveland, TN 37311

Annual Report History

Num Status Date Year Tax
04745432 Original 07/01/2019 2019 $50.00
05914875 Original 09/11/2020 2020 $50.00

Amendment History

ID Description Date
2021-003319102 Dissolution / Revocation - Tax 09/08/2021

Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
Inactive Date Changed From: No Value To: 09/08/2021

2021-003258551 Delinquency Notice - Tax 07/02/2021

2020-002937137 Reinstatement - Tax 09/11/2020
Filing Status Changed From: Inactive - Administratively Dissolved (Tax) To: Active

2020-002931107 Dissolution / Revocation - Tax 09/08/2020

Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
Inactive Date Changed From: No Value To: 09/08/2020

2020-002882725 Delinquency Notice - Tax 07/02/2020
2018-002453390 RA Address Change 12/11/2018
2018-002347338 Change of Agent 08/01/2018

Registered Agent # Changed From: 0193202 To: 0185352

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Filing Information

A Please note that this form CANNOT be submitted in place of your Annual Report.

Name Four (4) Square Biz LLC
Filing ID 2018-000813944
Type Limited Liability Company Status Inactive -

Administratively
Dissolved (Tax)

Registered Agent Organization Name Changed From: Buffalo Registered Agents LLC To: Registered Agents Inc.
Registered Agent Physical Address 1 Changed From: 412 N Main St Ste 100 To: 30 N Gould St Ste R
Registered Agent Physical City Changed From: Buffalo To: Sheridan
Registered Agent Physical County Changed From: Johnson To: Sheridan
Registered Agent Physical Postal Code Changed From: 82834 To: 82801

See Filing ID Initial Filing 07/29/2018

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EXHIBIT B

Case 2:22-cv-00389-DCN Document 21-1 Filed 12/29/22 Page 6 of 12

Andrew Wagle
=
From: Andrew Wagley
Sent: Friday, December 02, 2022 9:27 AM
To: Keith Crews
Cc: ‘Micah Eigler’; okcrews@4squarebiz.com; Jodi Dineen; Samir Dizdarevic-Miller
Subject: RE: Litigation Plan and Discovery Plan
Mr. Crews,

The Scheduling Conference is being moved approximately a month so you can participate. It is
still not clear whether you anticipate participating on behalf of yourself only or both you and
Four SquareBiz. Please clarify. Also, we anticipate moving for a default soon if you do not
formally appear and participate in the litigation. As discussed multiple times before, a lot of
money is on the line and it is advisable that you obtain an attorney.

Thanks,

Andy

ANDREW M. WAGLEY
Principal | awagley@ettermcmahon.com | Attorney Bio | www.ettermcmahon.com

618 West Riverside Avenue, Suite 210

le) Spokane, WA 99201

Phone: 509.747.9100 Fax: 509.623.1439
LAWYERS

aye Etter, MSMahon, Lamberson, Van Wert & Oreskovich, P.C.

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copy you received immediately.

From: Keith Crews <okcrews@yahoo.com>

Sent: Thursday, December 01, 2022 9:47 PM

To: Andrew Wagley <awagley@ettermcmahon.com>
Subject: Re: Litigation Plan and Discovery Plan

Hi Andrew

| am not available for the hearing held on December 2nd, so | am asking for a two-week extension to get prepared for the
legal summons.

Please let me know if this is acceptable protocol at the last minute. | apologize for the last-minute notification to Andrew.

Thanks
Keith
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On Thursday, December 1, 2022 at 06:27:19 PM EST, Andrew Wagley <awagley@ettermcmahon.com> wrote:

Mr. Eigler,

Just a reminder | will be calling at approximately 8:50 am PST tomorrow morning for the
Court’s Scheduling Conference.

Mr. Crews,

Are you going to participate? If so, what number do we call you at?

Thanks,

Andy

ANDREW M. WAGLEY

Principal | awagley@ettermcmahon.com | Attorney Bio | www.ettermcmahon.com

Ene Etter, M¢Mahon, Lamberson, Van Wert & Oreskovich, P.C.

6 618 West Riverside Avenue, Suite 210

LAWYERS
Spokane, WA 99201

Phone: 509.747.9100 Fax: 509.623.1439

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From: Micah Eigler <eigler1 @gmail.com>

Sent: Tuesday, November 29, 2022 9:51 AM

To: Andrew Wagley <awagley@ettermcmahon.com>
Subject: RE: Litigation Plan and Discovery Plan

(818)939-2057

From: Andrew Wagley <awagley@ettermcmahon.com>

Sent: Tuesday, November 29, 2022 9:28 AM

To: Micah Eigler <eigler1 @gmail.com>; okcrews@4squarebiz.com; okcrews@yahoo.com
Ce: Jodi Dineen <jdineen@ettermcmahon.com>

Subject: RE: Litigation Plan and Discovery Plan

Yes, we will send you and Mr. Crews a conformed copy today. As discussed, the telephone
conference is this Friday, at 9:00 am PST. We have to get you on the line and then call the
Court. Please provide the best number to reach you at on Friday morning.

Thanks,

Andy

ANDREW M. WAGLEY

Principal | awagley@ettermcmahon.com | Attorney Bio | www.ettermcmahon.com

ane Etter, M¢Mahon, Lamberson, Van Wert & Oreskovich, P.C.

N a be) 618 West Riverside Avenue, Suite 210

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From: Micah Eigler <eigler1 @gqmail.com>

Sent: Tuesday, November 29, 2022 9:21 AM

To: Andrew Wagley <awagley@ettermcmahon.com>
Subject: RE: Litigation Plan and Discovery Plan

Andrew were you able to submit the Litigation and discovery plan to the court?

From: Andrew Wagley <awaqgley@ettermcmahon.com>

Sent: Friday, November 25, 2022 3:23 PM

To: Micah Eigler <eigler1 @gmail.com>

Cc: okcrews@4squarebiz.com; okcrews@yahoo.com; Jodi Dineen <jdineen@ettermcmahon.com>; Samir Dizdarevic-
Miller <samir@ettermcmahon.com>

Subject: Re: Litigation Plan and Discovery Plan

Mr. Eigler,

The caption that indicates “marital community” is because of the caption on the

Complaint. (Note that the Complaint alleges the marital community is involved and that is my
understanding of the documents.) | will indicate where applicable on the Discovery Plan and
Litigation Plan that you dispute the marital community is involved and we can argue the issue
later on in the litigation.

Does Mr. Crews have any comments, revisions, or the like for the Discovery Plan and Litigation
Plan? As discussed, | need to file before 5 pm with or without his substantive participation.

Thanks,

Andy
Case 2:22-cv-00389-DCN Document 21-1 Filed 12/29/22 Page 10 of 12
Andrew M. Wagley

Principal | awagley@ettermcmahon.com | Attorney Bio | www.ettermcmahon.com

Bua Etter, M¢Mahon, Lamberson, Van Wert & Oreskovich, P.C.

(o) 618 West Riverside Avenue, Suite 210

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From: Micah Eigler <eigler1@gmail.com>

Date: Friday, November 25, 2022 at 3:08 PM

To: Andrew Wagley <awagley@ettermcmahon.com>
Cc: "okcrews@yahoo.com" <okcrews@yahoo.com>
Subject: RE: Litigation Plan and Discovery Plan

Andrew | am ok with the current litigation and discovery plan however | signed all agreements as an individual not as
marital community. Therefore | do not agree for this to be filed as such. Please confirm you will not be filing as marital
community as | signed all agreements as an individual. My wife never agreed to any of these documents and is therefore
not responsible for anything.

Thank you.

MICAH EIGLER

GDIH CAPITAL MANAGEMENT GROUP

GDIH FIRST RESPONSE AND SECURITY GROUP
FIRST CAPITAL REAL ESTATE GROUP

GLOBAL COMMUNITY MANAGEMENT
(818)939-2057 Direct
Case 2:22-cv-00389-DCN Document 21-1 Filed 12/29/22 Page 11 of 12

Eigler1@gmail.com
skype: micah.eigler

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acknowledge and accept that this is a privileged, proprietary and confidential communication and you agree to keep it private.

From: Andrew Wagley <awagley@ettermcmahon.com>

Sent: Friday, November 25, 2022 9:23 AM

To: micah eigler <eigler1@qmail.com>; okcrews@4squarebiz.com; okcrews@yahoo.com

Cc: Samir Dizdarevic-Miller <samir@ettermcmahon.com>; Jodi Dineen <jdineen@ettermcmahon.com>
Subject: Litigation Plan and Discovery Plan

Gentlemen,

Please find the attached. As discussed, everything should be fine, but please verify as | cannot
speak for your positions. We need to file today as discussed. Please respond with any
changes and | can finalize and file.

Thanks,

Andy

Andrew M. Wagley

Principal | awagley@ettermcmahon.com | Attorney Bio | www.ettermcmahon.com

Bye Etter, MSMahon, Lamberson, Van Wert & Oreskovich, P.C.

A 618 West Riverside Avenue, Suite 210

LAWY@RS

Spokane, WA 99201
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